     Case 2:11-cr-00088-LRS   ECF No. 80   filed 08/31/11   PageID.283 Page 1 of 1




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 6
                           UNITED STATES DISTRICT COURT
 7                        EASTERN DISTRICT OF WASHINGTON
 8
      UNITED STATES OF AMERICA,               )     No. CR-11–088-LRS
 9                                            )
                  Plaintiff,                  )     ORDER GRANTING
10                                            )     MOTION TO MODIFY
      v.                                      )
11                                            )
      EDWARD AUSTIN BALES,                    )
12                                            )
                  Defendant.                  )
13                                            )
                                              )
14                                            )

15         Pending before the court is Defendant Edward Austin Bales’

16   Motion to Modify Conditions of Pretrial Release.                 For good cause

17   shown, Mr. Bales’ Motion (ECF No. 77) is GRANTED. Mr. Bales’ curfew

18   shall be between the hours of 9:00 p.m until 7:00 a.m.

19         IT IS SO ORDERED.

20         DATED August 31, 2011.

21
22                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING MOTION TO MODIFY - 1
